




 










&nbsp;

IN THE

TENTH COURT OF APPEALS




 
  
 
 
  
  
 


&nbsp;



No. 10-05-00409-CR

&nbsp;

In re
Benito Hinojosa

&nbsp;

&nbsp;



Original Proceeding

&nbsp;

&nbsp;



MEMORANDUM&nbsp; Opinion










&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The petition for writ of mandamus is denied.

&nbsp;

&nbsp;

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; TOM
GRAY

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Chief
Justice

&nbsp;

Before
Chief Justice Gray,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice
Vance, and

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice
Reyna

Writ
Denied

Opinion
delivered and filed January 4, 2006

Do
Not Publish

OT06

&nbsp;






s until after the jury lists had been drawn up.&nbsp; See
Tex. Code Crim. Proc. Ann. art.
35.26(a) (Vernon 1989); Tex. R. App.
P. 44.2(b); Escamilla v. State, 143 S.W.3d 814, 821 (Tex. Crim. App.
2004), cert. denied, 125 S.&nbsp;Ct. 1697 (2005); McBean v. State, No.
07-02-0455-CR, 2004 Tex. App. LEXIS 11107, at *8-*14 (Tex. App.—Amarillo Dec. 9, 2004, pet. filed).&nbsp; We overrule Appellant’s first issue.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 2.&nbsp;&nbsp; Other Offenses.&nbsp; In Appellant’s second issue, he contends that
the trial court erred in admitting evidence of multiple offenses by Appellant
against the victim.&nbsp; Appellant contends that the evidence constituted
extraneous-offense evidence.&nbsp; See Tex.
Code Crim. Proc. Ann. art. 38.37 (Vernon Supp. 2004-2005).&nbsp; The evidence
of which Appellant complains was not extraneous-offense evidence, but evidence
of the repeated commission of the offense alleged in the indictment.&nbsp; See
Rodriguez v. State, 104 S.W.3d 87, 91 (Tex. Crim. App. 2003).&nbsp;&nbsp; We overrule
Appellant’s second issue.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 3.&nbsp;&nbsp; Impeachment by Specific Instances
of Conduct.&nbsp; In Appellant’s
third and fourth issues, he contends that the trial court erred in sustaining
the State’s objections to evidence of specific instances of the victim’s
conduct to impeach her credibility.&nbsp; See Tex. R. Evid. 608(b).&nbsp; Although Appellant’s theory of
admissibility of the evidence at trial is unclear, that theory does not comport
with Appellant’s claim on appeal.&nbsp; See Resendiz v. State, 112 S.W.3d
541, 547 (Tex. Crim. App. 2003), cert. denied, 541 U.S. 1032 (2004).&nbsp; We overrule Appellant’s third and fourth issues.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 4.&nbsp;&nbsp; Impeachment by Evidence of Bias or
Prejudice.&nbsp; In Appellant’s
fifth issue, he contends that the trial court erred in sustaining the State’s
objection to evidence that Appellant contends establishes the victim’s bias or
prejudice against Appellant.&nbsp; Appellant does not establish that the evidence of
which he complains tends to establish bias or prejudice.&nbsp; See Chambers v.
State, 866 S.W.2d 9, 26-27 (Tex. Crim. App. 1993).&nbsp; We overrule Appellant’s
fifth issue.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Having overruled Appellant’s issues, we
affirm the judgment.&nbsp; 

TOM GRAY

Chief
Justice

Before Chief Justice Gray,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice Vance, and

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice
Reyna

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; (Justice
Vance concurring with note)*

Affirmed

Memorandum
opinion delivered and filed June 1, 2005

Do
not publish

[CRPM]

&nbsp; *&nbsp; “(Justice Vance concurs.&nbsp; The perfunctory
manner in which this opinion disposes of the issues does not assist the
litigants, the higher courts, the Bench and Bar, or the public.&nbsp; I believe we
should provide more of the facts and our analysis in memorandum opinions.&nbsp;
Thus, I cannot join this opinion.)”





